« 12/6/23, 11:47 AM Year to Date - 2023

Employee Name: Jeanne M. Marich

Employee Number 51144 Su (\| (V| A HE A (T L

Wages/Earmings - US Dollars, US

Lae ee irs

Me

i Regular Pay 4082.10 | 36855.95

Shift Diff Weekend Market — 167.40 167.40
Overtime Base 1.40 © 48.30
/ Overtime Premium 1.40 24.20
Total 1252.30 | 37095.85
Taxes/Taxabie
ed ale
Federal Withholding Tax 1670.74 37095.85
Medicare Tax - Employee 537.89 37095.85
Social Security Tax - Employee 2299.94 37095.85
Ohio Withholding Tax | 908.67 37095.85
Akron City Tax 641.63, 25663.50
Barberton City Tax 257.24 11432.35
Total 6316.11
Deductions
Meals 638.58
Total 638.58

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SUMMA HEALTH

1077 Gorge Blvd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of

Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

Pay Stub

Number 4248022
Check Dates 06/08/2023

Net Pay 1277.20

NON-NEGOTIABLE

US
Jeanne M. Marich 9469 51144 1300 63800 05/21/2023 06/03/2023
Summary
DESCOp ion uit oho
Total Gross 66.40 1525.65 10330.55
Total Deductions 248.45 1585.07
Total Net 1277.20 8745.48
Earnings
Regular Pay 44,90 33.50 1504.15 10254.35
Shift Diff Weekend Market 21.50 1.00 21.50 76.20
Total 66.40 4525.65 10330.55
Taxes/Taxable
Akron City Tax 5.87 153.21
Barberton City Tax 29.05 94.57
Federal Withholding Tax 46.03 185.12
Medicare Tax - Employee 22.12 149.79

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Pay Stub

Ohio Withholding Tax 34.27
Social Security Tax - Employee 94,59
Total 231.93
Deductions

Meals 16.52
Total 16.52

Auto Deposit Disiributions

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SUMMA HEALTH

1077 Gorge Bivd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of
Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

US
Jeanne M. Marich 9469 51144 4300 63800
Summary
MES: UTE
Total Gross 77.10
Total Deductions
Total Net
Earnings
Ry
Regular Pay 69.60 33.50
Shift Diff Weekend Market 7.50 1.00
Tota! 77.10

Taxes/Taxable

Akron City Tax

Barberton City Tax

Federal Withholding Tax

Medicare Tax - Employee

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Nurnbe
Check Date

06/04/2023

2339.10

1870.99

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Swi

2331.60

7.50

2339.10

58.48

135.92

33.92

4256023
06/22/2023

Net Pay 1870.99

NON-NEGOTIABLE

06/17/2023

12669.65

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Meurdo

12585.95

83.70

12669.65

94.57

321.04

183.71

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42/6/23, 11:43 AM Pay Stub
Ohio Withholding Tax 62.70
Social Security Tax - Employee 145.03
Total 436.05
Deductions

Meals 32.06
Total 32.06

Auto Deposit Distributions

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1870.99

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SUMMA HEALTH Number 4264089.

1077 Gorge Blvd 7 .
Akron, OH 44310 United States Check Date 07/06/2023

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of

Jeanne M. Marich Net Pay 1627.99
1462 MCTWEED LN

NEW FRANKLIN, OH 44203 NON-NEGOTIABLE
US

Jeanne M. Marich 9469 51144 1300 | 63800 06/18/2023 07/01/2023
Summery
4 rie
Total Gross 66.90 2023.40 14693.05
Total Deductions 395.41 2448.59
Total Net | 1 62799 12244.46
Earnings
7g &
Regular Pay 60.20 33.50 2016.70 14602.65
Shift Diff Weekend Market 6.70 4.00 6.70 90.40
: Total 66.90 : 2023.40 14693.05
Taxes/T axabie
Akron City Tax 50.59 262.28
Barberton City Tax 94.57
Federal Withholding Tax 98.04 419.08
Medicare Tax - Employee 29.34 213.05

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Pay Stub

Ohio Withholding Tax 51.64
Social Security Tax - Employee 125.45
Total 355.06
Deductions

Meals 40.35
Total 40.35

Auto Deposit Distributions

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SUMMA HEALTH

1077 Gorge Bivd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay Stub

Number
Check Date

Pay to the order of

Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

US
Jeanne M. Marich 9469
summary
Total Gross
Total Deductions
Total Net
Earnings
Regular Pay
Shift Diff Weekend Market
Total

Taxes/Taxable

51144 4300 63800 07/02/2023

40.60 1360.10
222.84
1137.29
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40.60 33.50 1360.10

40.60 1360.10
Akron City Tax 34.00

Barberton City Tax

Federal Withholding Tax 29.47
19.72

Medicare Tax - Employee

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07/20/2023

Net Pay 1137.29

NON-NEGOTIABLE

07/15/2023

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16053.15

2671.40

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296.28

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Ohio Withholding Tax 29.29 354.32
Social Security Tax - Employee 84.33 995.30
Total 196.81 2421.79
Deductions
Meals 26.00 249.61
Toial 26.00 249.61
Auto Deposit Distributions ,
ROLLIE ‘ WOROUNIE
XXXxx6032 XXXXXXXKXXXXXKKXXAXXXXKAXKAKKAXKKXK AND 1 72 1137.29 |

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SUMMA HEALTH

1077 Gorge Blvd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of

Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

US
oe umb
Jeanne M. Marich 9469
Summery
Total Gross
Total Deductions
Total Net
Earmings
Scr
Regular Pay

Shift Diff Weekend Market

Total

Taxes/Taxable

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51144 1300

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Akron City Tax

Barberton City Tax

Federal Withholding Tax

Medicare Tax - Employee

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Pay Stub

Number
Check Date

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08/03/2023

Net Pay 1630.47

NON-NEGOTIABLE

07/29/2023

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17970.65
97.40

18068.05

133.33

545.57

261.99

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12/6/23, 11:44 AM Pay Stub
Ohio Withholding Tax 51.34
Social Security Tax - Employee 124.92
Total 348.57
Deductions

Meals 35.86
Total 35.86

Auto Deposit Distributions

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1630.47

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soe aed Number 4288444
orge Biv De
Akron, OH 44310 United States Check Date 08/17/2023
VOID VOID VOID VOID VOID VOID VOID VOID
Pay to the order of
Jeanne M. Marich Net Pay 1951.79
1462 MCTWEED LN
NEW FRANKLIN, OH 44203 NON-NEGOTIABLE
US
Jeanne M. Marich 9469 51144 1300 63800 07/30/2023 08/12/2023
Summary
Total Gross: 78.30 2430.00 20498.05
Total Deductions 478.21 3534.04
Total Net 1951.79 16964.01
Eamimngs
i i Oo.
Regular Pay 70.20 34.50 2421.90 - 20392.55
Shift Diff Weekend Market - 8.10 1.00 8.10 — 105.50
Total 78.30 | 2430.00 20498.05
Taxes/Taxable
Akron City Tax 58.18 361.77
Barberton City Tax 2.32 135.65
Federal Withholding Tax 146.83 692.40
Medicare Tax - Employee 35.23 297.22

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Ohio Withholding Tax 65.89
Social Security Tax - Emplayee 150.66
Total 459.11
Deductions

Meals 19.10
Tota! 19.10

Auto Deposit Disiributions

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SUMMA HEALTH

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Akron, OH 44310 United States

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Pay io the order of
Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

US
Jeanne M. Marich 9469 51144 1300
Summary
Total Gross 82.70
Total Deductions
Total Net
Earnings
Overtime Base 1.40
Overtime Premium 1.40
Regular Pay 74.40
Shift Diff Weekend Market 5.50
Total 82.70

Taxes/Taxabie

Akron City Tax

Barberton City Tax

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Pay Stub

Number 4296583
Check Date 08/31/2023

Net Pay 2081.86

NON-NEGOTIABLE

63800 08/13/2023 08/26/2023
2644.80 23142.85
562,94 4096.98
2081.86 19045.87
48,30 48,30

24,20 24.20
2566.80 22959.35
5.50 411.00

2644.80 23142.85
60.63 422.40
4.94 140.59

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Federal Withhoiding Tax
Medicare Tax - Employee

Ohio Withholding Tax

Social Security Tax - Employee

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Deductions

Auto Deposit Distributions

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172.61

38.35

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Akron, OH 44310 United States Check Date 09/14/2023

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of

Jeanne M. Marich Net Pay 1667.61
1462 MCTWEED LN

NEW FRANKLIN, OH 44203 NON-NEGOTIABLE
US

Jeanne M. Marich 9469 51144 1300 63800 08/27/2023 09/09/2023
Summary
Total Gross 73.70 2117.20 25260.05
Total Deductions 449.59 4546.57
Total Net 1667.61 20713.48
Earnings
de 2 i © Date
Overtime Base 48.30
overimePromum | OT 24.20 |
Regular Pay 61.00 34.50 2104.50 25063.85 /
shit Diff Weekend Market 12.70 1.00 | 12.70 123.70
Total 73.70 2117.20 25260.05

Taxes/Taxable

Akron City Tax 40.25 462.65

Barberton City Tax 11.41 152.00

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12/6/23, 11:46 AM Pay Stub
Federal Withholding Tax 109.29
Medicare Tax - Employee 30.70
Ohio Withholding Tax 54.93
Social Security Tax - Employee 131.26
Total 377.84
Deductions

Meals 71.75
Tota! 71.75

Auto Daposit Distributions

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SUMMA HEALTH

1077 Gorge Blvd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of
Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

US
Jeanne M. Marich 9469 51144 1300
Summary
Total Gross 79.90
Total Deductions
Total Net
Earnings

Overtime Base

Overtime Premium

Regular Pay 67.50

Shift Diff Weekend Market 12.40
ber

Total 79.90

Taxes/Taxable

j Akron City Tax

Barberton City Tax

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Pay Stub

Number 4312969
Check Date 09/28/2023

Net Pay 1857.43

NON-NEGOTIABLE

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63800 09/10/2023 09/23/2023
2341.15 27601.20
483.72 5030.29
1857.43 22570.91
tg

48.30
24.20
34.50 2328.75 27392.60
1.00 42.40 136.10
2341.15 27601.20

Current >to Dat
29.66 492.31
25.98 177.98

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12/6/23, 11:46 AM Pay Stub
Federal Withholding Tax 136.17
Medicare Tax - Employee 33.95
Ohio Withholding Tax 62.77
Social Security Tax - Employee 145.15
Total 433.68
Deductions

Meais 50.04
Total 50.04

Auto Deposit Distributions

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SUMMA HEALTH Number 4321187

1077 Gorge Blvd :
Akron, OH 44310 United States Check Date 10/12/2023

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of

Jeanne M. Marich Net Pay 1829.21
1462 MCTWEED LN

NEW FRANKLIN, OH 44203 NON-NEGOTIABLE
US

Jeanne M. Marich 9469 51144 1300. 63800 09/24/2023 10/07/2023
Summary
© ray 4,
Total Gross 66.90 2308.05 29909.25
Total Decuctions 478.84 5509.13
Total Net 1829.21 24400.12
Earnings
criptio it ati
Overtime Base 48.30
Overtime Premium 24.20
Regular Pay 66.90 34.50 2308.05 29700.65
Shift Diff Weekend Market 136.10
Total 66.90 2308.05 29909.25
Taxes/Taxable
Mle G z
Akron City Tax 37.35 529.66
Barberton City Tax 18.32 196.30

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12/6/23, 11:46 AM Pay Stub

Federal Withholding Tax 132.20
Medicare Tax - Employee 33.46
Ohio Withholding Tax 61.61
Social Security Tax - Employee 143.10
Total 426.04

Deductions -
Meals 52.80
Total 52.80

Auto Deposit Distributions
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SUMMA HEALTH

Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of
Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

US
Jeanne M. Marich 9469 51144 1300 63800 10/08/2023
Summary
se,
Total Gross 73.20 2267.45
Total Deductions 469.03
Tolal Net 1798.42
Earnings

Overtime Base

Overtime Premium

Regular Pay 65.50 34.50 | 2259.75
Shift Diff Weekend Market 7.79 4.00 | 7.70
Total 73.20 2267.45
Taxes/Taxable
Akron City Tax 35.99
Barberton City Tax 18.63

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Number
1077 Gorge Blvd Check Date

4329387
10/26/2023

Net Pay 1798.42

NON-NEGOTIABLE

10/21/2023

32176.70

5978.16

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24.20

31960.40

143.80

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12/6/23, 11:46 AM Pay Stub
Federal Withholding Tax 127.32
Medicare Tax - Employee 32.88
Ohio Withholding Tax 60.19
Social Security Tax - Employee 140.59
- Total 415.60
Deductions ~

Meals 53.43
——$— . nas

Auto Deposit Disiributions -

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1369.99

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184.46

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SUMMA HEALTH

1077 Gorge Blvd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of
Jeanne M. Marich
1462 MCTWEED LN
NEW FRANKLIN, OH 44203

Number 4337632

neck Date

11/09/2023

Net Pay 1804.59

NON-NEGOTIABLE

US
seal nee be nd Ei
Jeanne M. Marich 9469 > 81144 1300 63800 10/22/2023 11/04/2023
Summary _ /
Total Gross 72.30 2229.70 34406.40
Total Deductions 425.11 6403.27
Total Net 1804.59 28003.13
Earnings
SCriptie as
Overtime Base 48.30
owas Premium 04.00
Regular Pay 64.40 34.50 2221.80 34182.20
Shift Diff Weekend Market 7.90 1.00 7.90 151.70
Total 72.30 | 2229.70 34406.40
Taxes/Taxable / -
oe ion
Akron City Tax 8.74 574.39
Barberton City Tax 42.31 257.24

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taKsies; 11:47 AM Pay Stub
Federal Withholding Tax 122.79
Medicare Tex-Empioyeo | 32.33
Ohio Withholding Tax 55.23
Social Security Tax - Employee 138.24
Total 399.64
Deductions —
fremt
Meals 25.47
Total 25.47
Auto Deposii Distributions
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839.69

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607.08

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SUMMA HEALTH

1077 Gorge Blvd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay to the order of

Jeanne M. Marich

1462 MCTWEED LN

NEW FRANKLIN, OH 44203
US

Jeanne M. Marich 9469 51144 1300
Summary
Total Gross 93.20
Total Deductions
Toial Net
Earnings
Overtime Base
Overtime Premium
Regular Pay 77.50
Shift Diff Weekend Market 45.70
Total 93.20

Taxes/Taxable

Akron City Tax

Barberton City Tax

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34.50

Pay Stub

4345834
11/22/2023

Number
Check Dale

Net Pay 2138.03

NON-NEGOTIABLE

63800 11/05/2023 11/18/2023
2689.45 37095.85
551.42 6954.69
2138.03 30141.16
48.30

24.20

2673.75 36855,.95
15.70 * 167.40
2689.45 37095.85
67.24 641.63
257.24

1/2
12/6/23, 11:47 AM Pay Stub
Federal Withholding Tax 177.96
Medicare Tax - Employee 39.00
Ohio Withholding Tax 68.98
Social Security Tax - Employee 166.74
wa 519.92
Deductions

Meals 31.50
Total 31.50

Auto Deposit Distributions

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1670.74

537.89

908.67

2299.94

6316.11

638.58

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42/11/23, 7:28 AM

SUMMA HEALTH

1077 Gorge Blvd
Akron, OH 44310 United States

VOID VOID VOID VOID VOID VOID VOID VOID

Pay io the order of
Jeanne M. Marich
4462 MCTWEED LN
NEW FRANKLIN, OH 44203

Pay Stub

4354055
12/07/2023

Number
Check Date

Net Pay 1641.63

NON-NEGOTIABLE

Us
Jeanne M. Marich 9469 51144 1300 63800 11/19/2023 42/02/2023
Summary
Se Torrent feat bo Dale
Total Gross 74.20 2020.55 39116.40
Total Deductions 378.92 7333.61
Total Net 1641.63 31782.79
Earnings
Overtime Base 48.30
Overtime Premium 24,20
Regular Pay 58.10 34.50 2004.45 38860.40
Shift Diff Weekend Market 16.10 1.00 416.10 183.50
Total 74.20 2020.55 39116 40
Taxes/Taxable
Akron City Tax 30.47 672.10
Barberton City Tax 18.04 275.28

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1/2
12/11/23, 7:28 AM Pay Stub
Federal Withholding Tax 97.70
Medicare Tax - Employee 29.30
Ohio Withholding Tax 48.98
Social Security Tax - Employee 125.28
Total 349.77
Deductions

Meals 29.15
Tota 29.15

Auto Deposit Distributions

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2425 22

6665.88

1641.63

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